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 1   [Submitting counsel on signature page]

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 8                                 UNITED STATES DISTRICT COURT

 9                              NORTHERN DISTRICT OF CALIFORNIA

10                                           SAN JOSE DIVISION

11
                                                      Case No. 5:24-cv-06101-SVK
12   YELP INC.,
                                                      DECLARATION OF JOHN E.
13                              Plaintiff,            SCHMIDTLEIN IN SUPPORT OF
                                                      DEFENDANT GOOGLE’S MOTION
14                         v.                         TO DISMISS COMPLAINT

15   GOOGLE LLC,                                      Date:    December 17, 2024
                                                      Time:    10 a.m.
16                                                    Place:   Courtroom 6, 4th Floor
                                Defendant.            Judge:   Magistrate Judge Susan van Keulen
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        Case 5:24-cv-06101-SVK Document 24-2 Filed 10/28/24 Page 2 of 3




 1           I, John E. Schmidtlein, make the following declaration:

 2           1.     I am a partner at the law firm of Williams & Connolly LLP, and I represent Defendant

 3   Google LLC in the above-captioned case.

 4           2.     I submit this declaration in support of Defendant Google LLC’s Motion to Dismiss

 5   Yelp’s Complaint. I am familiar with and have personal knowledge of the pleadings and

 6   proceedings in this case and the facts set forth in this declaration. If called to do so, I could and

 7   would testify competently thereto.

 8           3.     Attached as Exhibit A to this declaration is a true and correct copy of a document

 9   dated August 8, 2012 and located at the website referenced in Yelp’s Complaint,

10   https://stratechery.com/wp-content/uploads/2021/03/Staff-Memo.pdf, last accessed on October 28,

11   2024.

12           4.     Attached as Exhibit B to this declaration is a true and correct excerpted copy of the

13   testimony and written responses of Jeremy Stoppelman, co-founder and Chief Executive Officer of

14   Yelp, for a hearing before the Subcommittee on Antitrust, Competition Policy and Consumer Rights

15   of the 112th Congress, titled The Power of Google: Serving Consumers or Threatening

16   Competition?, dated September 21, 2011, last accessed on October 28, 2024 at the publicly available

17   website https://www.govinfo.gov/content/pkg/CHRG-112shrg71471/pdf/CHRG-112shrg71471.pdf.

18           5.     Attached as Exhibit C to this declaration is a true and correct copy of a statement from

19   the Federal Trade Commission, titled “Statement of the Federal Trade Commission Regarding

20   Google’s Search Practices,” dated January 3, 2013, last accessed on October 28, 2024 at the publicly

21   available website

22   https://www.ftc.gov/system/files/documents/public_statements/295971/130103google

23   searchstmtofcomm.pdf.

24           6.     Attached as Exhibit D to this declaration is a true and correct copy of the Google

25   Terms of Service dated May 22, 2024 and located at the website referenced in Yelp’s Complaint,

26   https://policies.google.com/terms?hl=en-US#footnote-services, last accessed on October 28, 2024.

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                                   DECLARATION OF JOHN E. SCHMIDTLEIN
                                         Case No. 5:24-cv-06101-SVK
        Case 5:24-cv-06101-SVK Document 24-2 Filed 10/28/24 Page 3 of 3




 1          I declare under penalty of perjury that the foregoing is true and correct. Executed on October

 2   28, 2024.
                                                                /s/ John E. Schmidtlein
 3                                                             John E. Schmidtlein
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                                 DECLARATION OF JOHN E. SCHMIDTLEIN
                                       Case No. 5:24-cv-06101-SVK
